PROB. 12

 

 

     

lR°'-a’s“l Case 2:OO-cr-20178-SHI\/| Document 44 Filed 05/16/05 Page 10f2 Page|D 43
UNITEI) STA'I`ES ])ISTRICT COURT
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WESTERN DISTR[CT OF TENNESSEE
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U. S. A. vs. MICHAEL FENZY LANGHORN Docket No. 2:00CR20178-01

 

 

Petition on Probation and Supervised Release

COMES NOW Willie S. Williams, Jr, , PROBATION OFFICER OF THE COURT presenting anoflicial

report upon the conduct and attitude of Michael Fenzy Langhorn , who Was placed on supervision by the Honorable

Julia Smith Gibbons sitting inthe Court at Memphis, TN , on the 23'd clay of Janu§y , 2_00_1, who fixed the

period of supervision at three 531 years* , and imposed the general terms and conditions theretofore adopted by the
Court and also imposed special conditions and terms as follows:

 

l. The defendant shall participate in drug testing/treatment as directed by the Probation Oi’lice.

2. The defendant shall maintain employment

3. The defendant shall pay restitution in the amount of $34,255.36, as directed by the Probation Oflice.

* Effective Date of Supervision: ()ctober 27, 2004

RESPECTFULLY PRESENTING PETITION FOR AC'I`ION OF COURT F()R CAUSE AS FOLLOWS:
(If short insert here; if lengthy write on separate sheet and attach)

When originally sentenced, Mr. Langhorn was ordered to make payments as directed by the Probation Oflice. Upon

completing an assessment of Mr. Langhom’s financial situation, it Was determined that a payment plan requiring ten

percent (10%) of his gross income would be appropriate

PRAYING THAT THE COURT WILL ORDER that Michael Fenzy Langhorn’s restitution payments be set at
ten percent (10%) of his monthly gross income.

 

 

 

()RDER OF COURT Respectfully,
Considered and ordered this Er*t`day A/MJL(/%L_
of "\ , 2035 and ordered fried ime s. Wiilian€s,/Jr. \;
and made a part of the records in the above Senior United States Probation Ofiicer
case. M,(_`
MH ` Place: Memohis` Tennessee
United States District Judge Date: May 6, 2005 /-

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:00-CR-20178 Was distributed by faX, mail, or direct printing on
May lS, 2005 to the parties listed.

 

 

C. Mark Pickrell

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l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

